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                             UNITED STATES DISTRICT COURT
                             EASTERN DISTRICT OF KENTUCKY
                             CENTRAL DIVISION at FRANKFORT


CRIMINAL ACTION NO. 08-21-KSF

UNITED STATES OF AMERICA                                                                PLAINTIFF

v.                                    OPINION & ORDER

LEONARD LAWSON,
CHARLES WILLIAM “BILL” NIGHBERT, and
BRIAN RUSSELL BILLINGS                                                              DEFENDANTS

                                       ************

       This matter is before the Court sua sponte. By its Order of July 9, 2009 [DE #470], the Court

granted the defendants’ motion for use of a juror questionnaire. A proposed Juror Questionnaire was

tendered to the parties at the hearing on July 9, 2009, and is attached hereto. Any objections to the

Court’s proposed Juror Questionnaire must be filed with the Court NO LATER THAN

WEDNESDAY, NOVEMBER 25, 2009.

       This 19th day of November, 2009.
